      Case 3:17-cv-02239-B Document 15 Filed 06/07/18                    Page 1 of 2 PageID 122




                          IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 GUDMECINDO BAHENA SEGURA                            §
                                                     §
 v.                                                  §
                                                     §   Civil Cause No. 3:17-cv-02239
 ROEHL TRANSPORT, INC., AND                          §
 CHARLIE MCFADDEN                                    §

                                   STIPlJLATION OF DISMISSAL

            Plaintiff GUDMECINDO BAHENA SEGURA, through his attorney, Aaron L.

Genthc, Law Firm of Aaron A. Herbert and Defendants ROEHL TRANSPORT, INC. and

CHARLIE McFAilDEN, through their attorney, Michael P. Sharp, Fee, Smith, Sharp &

Vitullo, L.L.P., file this stipulation of dismissal with the court.

                                             A. Introduction

       1.   Plaintiff is GUDMECINDO BAHENA SEGURA; and Defendant arc ROEHL

TRANSPORT, INC. and CHARLIE McFADDEN.

                                             B. Stipulations

      2.    Plaintiff and Defendants have agreed to the following stipulations:

            a.    All matters in controversy had been adjusted amicably; and

            b.    This suit should be dismissed with prejudice to refiling same by Plaintiff.




STIPULATION OF DISMISSAL                                                                PAGE 1 OF2
  Case 3:17-cv-02239-B Document 15 Filed 06/07/18      Page 2 of 2 PageID 123




                                  Respectfully submitted,



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STIPULATION OF DISMISSAL                                           PAGE2 OF2
